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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                      CONDITIONAL TRANSFER ORDER (CTO −128)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,916 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                                                      John W. Nichols
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                  MDL No. 2804



                    SCHEDULE CTO−128 − TAG−ALONG ACTIONS



 DIST        DIV.      C.A.NO.      CASE CAPTION


MISSOURI EASTERN

 MOE          4       19−03300      Ray County, Missouri v. Allergan PLC et al
 MOE          4       19−03302      Vernon County, Missouri v. Allergan PLC et al

NEVADA

                                    City of North Las Vegas v. Walgreens Boots Alliance,
  NV          2       19−02143      Inc. et al
                                    City of Henderson v. Walgreens Boots Alliance, Inc. et
  NV          2       19−02145      al

OKLAHOMA WESTERN

                                    Cleveland County Board of County Commissioners v.
 OKW          5       19−01166      Cephalon Inc et al

PENNSYLVANIA EASTERN

                                    PUBLIC SERVICE INSURANCE COMPANY v.
  PAE         2       19−05904      JANSSEN PHARMACEUTICALS, INC. et al

TEXAS SOUTHERN

                                    Dallas County Hospital District − Parkland Memorial
  TXS         4       19−04834      Hospital et al v. Amneal Pharmaceuticals, Inc. et al

WISCONSIN EASTERN

                                    Village of Pleasant Prairie Wisconsin v.
  WIE         2       19−01828      AmerisourceBergen Drug Corporation et al
                                    City of Kenosha, Wisconsin v. AmerisourceBergen
  WIE         2       19−01829      Drug Corporation et al
